        Case 2:20-cv-00966-NR Document 82 Filed 07/13/20 Page 1 of 4




             IN THE UNITED STATES DISTRICT COURT FOR
              THE WESTERN DISTRICT OF PENNSYLVANIA

                                          :
DONALD J. TRUMP FOR                       :   Civil Action
PRESIDENT, INC., et al.,                  :
                                          :   No. 2:20-CV-966
                         Plaintiffs,      :
                                          :
            v.                            :   Judge J. Nicholas Ranjan
                                          :
KATHY BOOCKVAR, et al.,                   :
                                          :
                         Defendants.      :

       PHILADELPHIA COUNTY BOARD OF ELECTIONS’S
 JOINDER IN RESPONSE OF DEFENDANTS BUCKS, CHESTER, AND
MONTGOMERY COUNTY BOARDS OF ELECTIONS TO PLAINTIFFS’
MOTION FOR A SPEEDY DECLARATORY JUDGMENT HEARING AND
                  EXPEDITED DISCOVERY

      The Philadelphia County Board of Elections joins the Response of

Defendants Bucks, Chester, and Montgomery County Boards of Elections to

Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and Expedited

Discovery [ECF 76] and adopts those Defendants’ arguments as if set forth herein.

      The Philadelphia Board of Elections writes separately here to emphasize the

particular burden that Plaintiffs’ request would impose on Philadelphia.

Philadelphia has been especially hard hit by the COVID-19 pandemic. It was the

last county to move into the “Green” phase under the state’s phased reopening, and

even now remains in a modified “Green” phase. The closure of City offices during

the pandemic complicates the Board’s ongoing work. This includes providing data
         Case 2:20-cv-00966-NR Document 82 Filed 07/13/20 Page 2 of 4




to the Department of State regarding the recent primary election, processing voter

registration applications, and preparing to conduct the November 2020 election in

these unprecedented circumstances. Importantly, even where City offices are

physically open, various employees continue to work remotely and in-person office

responsibilities must occur in a manner that complies with social distancing

guidelines. And because the primary was delayed, the timeline to prepare for the

general election has been compressed.

      All of this means that the wide-ranging expedited discovery sought by

Plaintiffs would impose a significant burden on Philadelphia. This discovery

would require that Board employees preparing for the general election be

compelled to focus on collecting documents and data, some of which may not be

accessible electronically, for discovery responses. And they would have to do so

while the City remains in the midst of the pandemic. Broad and expedited

discovery may impair the Philadephia Board of Elections’ General Election

preparations and certainly should not occur before the claims at issue are

eliminated, narrowed, or otherwise clarified by motion practice.

      For these reasons, the Philadelphia County Board of Elections respectfully

requests that the Court deny Plaintiffs’ Motion.




                                         2
        Case 2:20-cv-00966-NR Document 82 Filed 07/13/20 Page 3 of 4




                                   Respectfully submitted,

                                   CITY OF PHILADELPHIA LAW
                                   DEPARTMENT
                                   Marcel S. Pratt, City Solicitor

Date: July 13, 2020         By:   /s/ Zachary Strassburger
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                                  Board of Elections

                                  * Pro hac vice motion to be filed




                                     3
        Case 2:20-cv-00966-NR Document 82 Filed 07/13/20 Page 4 of 4




                         CERTIFICATE OF SERVICE


      I certify that on July 13, 2020, I caused a true and correct copy of the

foregoing Joinder in Response to be electronically filed and served with the Court

using the Electronic Case Filing System.

                                       /s/ Zachary Strassburger
                                       Zachary Strassburger
